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                                        Mary Basile Logan
                                         27 Cherry Street
                                    Lebanon, New Jersey 08833
                                    Email: Trino@trinops.com

 October 28, 2024

 Sent Via Email Recipient Confirmation                Sent Via Email – Recipient Confirmation
 Hon. Zahid N. Quraishi                               The Honorable Michael Johnson
 United States District Court                         Speaker of the House
 District of New Jersey                               568 Cannon House Office Bldg.
 Clarkson S. Fisher Building                          Washington, DC 20515
 402 East State Street, Courtroom 4W
 Trenton, New Jersey 08608

        RE:     LOGAN v. GARLAND, et al.
                Index No. 3:24-cv-00040 (ZNQ TJB)

 Dear Judge Quraishi:


        I am the Plaintiff in the above-entitled action, Pro-Se. On October 24, 2024, ECF Doc. 119-
 4863 which cited the highest concern for national security and the utmost integrity to the Federally
 Protected Election Infrastructure. Advancing the foregoing, ECF Doc. 110-4581, was sent on
 September 19, 2024.

         Before the Honorable Court on October 7, 2024, through the represented pleading, the Court
 was scheduled to hear Plaintiff’s plea of Injunctive Relief with Permanent Restraining Order. The
 Plaintiff sought final entry of this communication for the Honorable Court’s emergent consideration in
 that regard. At the time of this writing, Plaintiff has not received benefit of reply as to the Honorable
 Court’s consideration.

         Accordingly, as stated in all previous communications concerning this matter, Plaintiff’s
 fervent research has continued, heightened in urgency citing the three assassination attempts made on
 the Presidential candidate, Donald John Trump. Plaintiff presents facts with supporting evidence to
 move this Honorable Court to immediate action, citing the existential threat to the United States of
 America, the Presidential candidate, and the inexplicably tied sovereign federally protected election
 infrastructure; Plaintiff makes demand of the Honorable Court to be heard at once. As the FBI and the
 DHS has continued their dereliction in the safety of the candidate, Donald J. Trump, Plaintiff presents
 facts in evidence herein regarding the assassination attempts made, each claim sourced and
 forensically analyzed among the broader evidence and findings.

      Plaintiff has now confirmed through appreciative open-sourced findings that MERRICK
 GARLAND, LLOYD AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS
 MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT CALIFF, WILLIAM J.
 CLINTON, HILLARY R. CLINTON, THOMAS KEAN SR., ROBERT MUELLER, JAMES
 COMEY, RICHARD “DICK” CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE
                                                  1
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 W. BUSH, BARACK HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC HOLDER,
 JOSEPH R. BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE
 NORCROSS, KATHY HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN RICE, ADAM
 SCHIFF, CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD
 ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL NELSON,
 OCCIDENTAL PETROLEUM, UNITED HEALTHCARE, the DEMOCRATIC NATIONAL
 COMMITTEE, the REPUBLICAN NATIONAL COMMITTEE, DEBBIE WASSERMAN
 SCHULTZ; JAMES PITTINGER, LISA SELLA; CHRISTOPHER J. CHRISTIE, PHILIP D.
 MURPHY, TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI, MATTHEW PLATKIN and
 ROBERT JUNGE, hereinafter referred to as “inclusive Defendants.”

         Plaintiff made application to the Honorable Court to include LISA MONACO, MICROSOFT,
 BILL GATES, WARREN BUFFETT, MIKE PENCE, CRESCENT CAPITAL, KAMALA HARRIS,
 MITT ROMNEY, HARVARD ENDOWMENT, JEREMY B. BASH, DICK DURBIN, GAVIN
 NEWSOM, GRANT VERSTANDIG, GRETCHEN WHITMER, the UNITED NATIONS as co-
 colluders who overtly labored in collective action to exact a predetermined outcome at the expense of
 Plaintiffs’ sovereign Rights, the Executive Branch disenfranchised the lawful Executive, Donald John
 Trump, affirmed on January 20, 2021, fraudulently.

         Plaintiff states that the Federal elections of 1976; 1980; 1984; 1988; 1992; 1996; 2000; 2004;
 2008; 2012; 2016 and 2020 were unlawfully held, manifest of wanton Executive and legislative
 actions to aid and abet the facilitation of conspiracy to defraud the United States. The subject wanton
 actions taken by foreign persons, never having registered under the Alien Registration Law, 8 U.S.CA.
 § 451 et seq., 18 U.S.C.A. § 9 et seq., who in the company of sympathizers, herein named as inclusive
 Defendants, took unlawful action by capacity attained through deceit, craft or trickery, expressly
 exceeding the threshold of mere dishonesty.

         Through the unlawful securing of capacity and authority of the Executive Branch of these
 United States, JIMMY CARTER, GEORGE H. W. BUSH (dec), WILLIAM J. CLINTON, BARACK
 HUSSEIN OBAMA, and GEORGE W. BUSH moved illicit Acts, Executive Orders and Legislative
 action buttressed by co-conspirators, herein named, equally culpable and unlawfully holding capacity
 in the Legislative Branch. The cumulative Acts, Executive Orders and Legislative actions associated
 with the aim of disfiguring, disenfranchising and usurping the unalienable Rights of the People; the
 Cardinal Moral Truths

        that all Men are created equal, that they are endowed by their Creator with certain unalienable
        Rights, that among these are Life, Liberty, and the Pursuit of Happiness – that to Secure these
        Rights, Governments are instituted among Men, deriving their just Powers from the Consent of
        the Governed.

         Plaintiff states with specificity, the “Governments instituted” by the herein named foreign
 persons, the inclusive Defendants, voided all consents through deceit, craft or trickery, expressly
 exceeding the threshold of mere dishonesty. Citing the moral turpitude underpinning the collective
 actions of conspiracy against these United States holding hostage of the Executive Powers, unlawfully
 secured through the aforesaid trickery and deceit. Consent of the People, but for the deceitful
 contrivance, would otherwise have been withheld in all cases.

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         The emergence of Bank of Credit and Commerce International (“BCCI”) within the United
 States are alleged to have commenced in 1976 correlating directly with Executive Branch occupation
 by JIMMY CARTER. Immediately upon usurping the Executive Branch, hostile acts intent of a
 broadly fabricated scheme to defraud immediately moved unlawful Executive authority under the
 Presidential Reorganization Project (“PRP”). The Plaintiff states the longevity of turpitude by foreign
 holding persons, including Harry S. Truman, Lyndon Baines Johnson, and with some variation to
 revert actions, that of Richard M. Nixon, each such Executive having sought consent of Congress of
 similar restructuring as to the PRP. The Constitution and 3-Branch design of checks and balances
 augmented by trickery within the PRP, the Reorganization Act of 1977 moved through the legislative
 process, from which the Department of Energy (1977) and the Department of Education (1979) were
 created.

         Once the PRP adjustment were confirmed by Congress, CARTER created the Carter Center
 (est. 1982), buffering the Executive Branch following his departure from the hostage siege of the
 Executive Branch in 1981. From 1982, the Carter Center colluded in the company of the UNITED
 NATIONS in unlawful usurpations, each action malevolent to the laws of these United States and the
 Cardinal Moral Truths, held by the People. The actions under the Carter Center, as below,
 implemented by the former CIA Director, the unlawfully seated foreign subversive, George H. W.
 Bush (“Bush 1”), as below. Plaintiff notes that while serving as the CIA Director, Bush 1 was privy to
 Operation Paperclip and the movement of each placed foreign operative so associated, in government,
 industry and University/Academic venue placement. The foregoing statement is evidence by the
 BCCI investigative record (see footnote 1), confirming the BCCI geopolitical triangulation intent of
 undermining the Executive authority held by Ronald Reagan.

         Plaintiff provides detailed articulation specific to the central thesis, those unalienable Rights so
 sacredly held, the autonomous voice expressed by sovereign vote which speak for the Plaintiff in
 choice, informed selection and entry of consent to lead the United States holding all trust of
 Constitutional authority. In each case as to the foregoing parties, all holding foreign allegiance,
 Plaintiff’s choice, and consent which follows was coopted, subverted and seized.

         As courtesy to the Honorable Court, Plaintiff presents the material with strict focus on the
 central thesis; however, the surrounding facts, decisions and facts, regarding Camp David Accords,
 the Panama Canal Treaties, Strategic Arms negotiations, the U.S. Department of Energy, Iran hostage
 negotiations, Cold War – détente and the grain embargo against the Soviets, the Olympics, etc. In
 each and every case, the malignancy of BCCI, foreign encroachment, was central and in some cases
 physically present by foreign designees. 1 The geopolitical and United States national security
 repercussions resulting from the foregoing knowing actions to subvert the interests of these United
 States cannot be understated nor refuted, subject of the BCCI Investigative record, Congressional
 annuls and Presidential papers held by the National Archives.


 1
   See ECF, Doc. 45-1, P.266. “BCCI, former CIA officials, including former CIA director Richard Helms and the
 late William Casey; former and current foreign intelligence officials, including Kamal Adham and Abdul Raouf
 Khalil; and principal foreign agents of the U.S., such as Adnan Khashoggi and Manucher Ghorbanifar, float in and
 out of BCCI at critical times in its history, and participate simultaneously in the making of key episodes in U.S.
 foreign policy, ranging from the Camp David peace talks to the arming of Iran as part of the Iran/Contra affair.”

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         On behalf and in the interest of foreign nation-states and entities, the Carter Center conducted
 federal election fraud encroaching on local elections, commencing in Georgia, thereafter across the
 United States, breaching the sovereign protections affirmed by the Constitution and the wall of
 separation between the Federal government and local, citizen volunteer managed elections. Carter
 appointed Paige Alexander at the inception of the Carter Center.

        Ms. Alexander left the organization working for various NGO’s including one which she
 formed, IREX. The primary funding source for IREX is the Open Society, George Soros, with whom
 Ms. Alexander worked as a consultant in Prague. The former role extended to an appointment as
 associate director of Project Liberty at Harvard University’s John F. Kennedy School of Government.
 Presently, Ms. Alexander serves as the CEO of the Carter Center. The foregoing history record
 confirms and further evidences the Plaintiff’s claims of harm, the stated parties, entities and
 University directly responsible for the inclusive unlawful usurpations.

         Ms. Alexander held a principal responsibility of ), served as the USAID liaison (1993-2001),
 the same time period in which Marc Rich, HILLARY R. CLINTON, WILLIAM J. CLINTON and the
 Clinton Foundation participated in and benefited from the fraudulent activities under the USAID “Oil
 for Food” program, the indictment and investigation a matter of DOJ record, affirming the UNITED
 NATIONS opaque but knowing hands in the criminal operation. The vulnerable people
 internationally that the DEMOCRAT NATIONAL PARTY has amassed the cast expanse of federal
 budget to aid, had nothing to do with the actual delivery of services, as the investigation disclosed,
 instead it had everything to do with monetary fraud, lining their own pockets and a gross breach of
 public trust. These Oil for Food manipulations and human abuses attach back to BNP Paribas, the
 sole bank handling funds transfers for the Oil-for-Food Programme was the New York branch of the
 Banque Nationale de Paris-Paribas, or BNP Paribas (Source: Oil for Food Investigative record).
 Plaintiff restates the claims against Defendant, JOSEPH R. BIDEN, a principal facilitator to fraud in
 the company of the UNITED NATIONS, inculcating his son, Hunter Biden through Burisma.

         George H.W. Bush appointed as the REPUBLICAN NATIONAL COMMITTEE Chair in 1972
 positioned to segway foreign infiltrators into the Republican Party, both those affiliated with BCCI as
 well Operation Paperclip. Bush 1 was prominently positioned at the time of Watergate as RNC Chair,
 and encouraged Nixon to resign in lieu of challenging the allegations made against him.

         In the case of Iran-Contra, noting the subject and operation is referenced in the BCCI
 investigative record 33 times/540 pages with direct CIA attachment including current and former U.S.
 Intelligence officials, not identified with undisclosed correlating intelligence records. 2

       The history of imposition on United States policy, foreign and domestic, by JIMMY CARTER
 by way of the Carter Center, in collaboration with MIT, Emory University, and Defendant, JAMES

 2
  ECF Doc. 45-1 P.256. “Outside the documentary record provided to the Subcommittee by the CIA, there is
 additional material, consisting of BCCI documents, testimony from BCCI officials and insiders, and extrinsic,
 circumstantial and historic information describing other substantial contacts between BCCI and the intelligence
 community. These include contacts between BCCI and:
 ** former U.S. intelligence officials, including a former head of the CIA;
 ** former and current foreign intelligence officials; and
 ** individuals engaged in covert operations on behalf of the United States government, including in the Iran/Contra
 affair.

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 BAKER under the Baker Institute at Rice University informs the collective embodiment, working in
 collaboration as a larger web of actors all holding foreign allegiance. Designed as “think tank” model,
 these entities were directing policy apart from the interests of these United States. The think tanks
 were chaired or led by principal within the monetary mapping of BCCI to which the elected body was
 beholden, a triangulation of leverage.

         Plaintiff states by example, Edward Peter Djerejian, formerly an Ambassador to Syria (1988-
 1991) and Israel (1993-1994), Special Assistant to Ronald Reagan and Deputy Press Secretary of
 Foreign Affairs (1985-1986), Assistant Secretary of State for Near Eastern Affairs, (1991 -1993),
 founding director of Rice University’s Baker Institute for Public Policy (1994-2022), fellow at the
 Middle East Initiative at Harvard Kennedy School’s Belfer Center for Science and International
 Affairs, a fellow of the American Academy of Arts and Sciences and a Trustee of the Carnegie
 Corporation, elected as Chairman of Occidental Petroleum Corporation (2013-2015). The cross-
 pollination between the central characters to broaden fraudulent action is consistent among the
 foregoing examples, including Carnegie Corporation, Harvard and Defendant, OCCIDENTAL
 PETROLEUM. Djerejian would be replaced at Occidental Petroleum with Eugene Batchelder,
 formerly of ConocoPhillips, which in 2012 contracted with BNP Paribas to divest all onshore and
 offshore assets in Nigeria (2012), having operated in Nigeria for 46-years, the history of Conoco
 reaches as far back as Standard Oil.

          Using the think tanks the foreign holding persons moved in and among collegiate
 environments, it followed the collective acted in tandem with foreign operatives within the
 governmental 3-branches, collegiate venues, think tanks and corporate affiliates – one cohesive school
 of fish; each holding no allegiance to these United States or to the People, holding capacity captive
 until such time as they deemed the United States no longer relevant to their interests.

        Applying for the foregoing, Plaintiff presents interface between the Carter Center, BCCI, the
 UNITED NATIONS and Defendant, WILLIAM J. CLINTON. In 1992, under the Council of Freely
 Elected Heads of Government, Chaired by Carter, election observations in Latin America and the
 Caribbean took place with specific reporting instruction built on autonomous framework drafted by
 the Carter Center. The project was funded in part by the Gerald R. Ford Foundation, among others.
 The election observers completed surveys were later catalogued and iterated in report (EXHIBIT 1).
 The reports were authored by the Council of Freely Elected Heads of Government. The projects were
 alleged to be designed under the auspices of expanding democracy.

         From November 2 through November 4, 1992, a diverse group of Mexican political officials,
 academics, political analysts, and grass-roots organizers observed the pre-election and voting process
 in the U.S. presidential elections in Georgia. The observations were share in public forum by Carter
 and Canadian Prime Minister, Pierre Elliott Trudeau, provided in EXHIBIT 1, attached.

         Arizona Secure, Fair and Safe Elections – Arizona Democracy Resilience Network, Florida
 Sunshine 100, Georgia Democracy Resilience Network, Michigan DVC Resilience, North Carolina,
 Fair, Safe & Secure Elections, and Wisconsin Alliance for Civic Trust. The initial Report dated
 November, 1992, confirms that members of an autonomous delegation from Mexico and other nation-
 states were brought to Georgia to observe the elections (1992), coordinated with the assistance of
 Emory University. The Carter Center used the Charter of the UNITED NATIONS as a buffer – “in the

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 spirit of honoring free elections in a nation without a voice” to secure their access, a subsequent form
 of trickery (Source: Carter Center Report Nov., 1992).

          Defendant, WILLIAM J. CLINTON unlawfully executed the National Voter Registration Act
 of 1993 (NVRA), also known as the Motor Voter Act, on May 20, 1993, that went into effect on
 January 1, 1995. Unlawfully enacted under the Elections Clause of the United States Constitution and
 advances voting rights in the United States by requiring state governments to offer simplified voter
 registration processes for any eligible person who applies for or renews a driver's license or applies for
 public assistance, and requiring the United States Postal Service to mail election materials of a state as
 if the state is a nonprofit. The law requires states to register applicants that use a federal voter
 registration form, and prohibits states from removing registered voters from the voter rolls unless
 certain criteria are met. .

        The Motor Voter Act exempts from its requirements States that have continuously since
 August 1, 1994 not required voter registration for federal elections or offered election day registration
 (EDR) for federal general elections. Six states qualify for the exemption: North Dakota, which does
 not require registration, and Idaho, Minnesota, New Hampshire, Wisconsin and Wyoming because of
 the EDR exemption. While some have recently asserted that Maine lost the exemption when it
 abolished EDR in 2011 (which it subsequently restored), Maine has never considered itself exempt
 from the act.

         The National Voter Registration Act of 1993 (NVRA) is alleged by design to aid the public and
 state level for all registered voters with disabilities. The Help America Vote Act of 2002 outlines that
 all federally funded elections must provide at least one form of accessibility voting for all people with
 disabilities.

          Plaintiff states that the comprehensive actions, inclusive of the Georgia election observations,
 the resulting Carter/Baker report and the National Voter Registration Act of 1993 were an unlawful
 ruse to secure access to the locally managed voter registration databases. Moreover, the foregoing
 actions were contrived by persons and entities holding undisclosed allegiances to BCCI and foreign
 nation-states, apart from these United States, inclusive of the unlawfully seated Executive, WILLIAM
 J. CLINTON. To manifest fully automated elections, end to end, in 2004, computerized infrastructure
 was introduced with streamlining across States, leaving options for software including ES&S,
 HARTInterCivic and Dominion which run through Microsoft Azure, the latter the constant presence in
 all election venues, the former contracted by the Governor’s offices.

        Analysis sourced from the Carter Center, confirmed by secondary sourcing states that until
 2004 (approx.) full access to the locally managed voter registration databases within the United States
 were restricted or otherwise inaccessible.

         The facts provide that National Voter Registration Act of 1993 was surreptitiously and
 unlawfully drafted by foreign holding operatives of BCCI, having illegitimately secured the Executive
 capacity with the sole intent to commence dismantling these United States from within. The actions
 were informed by the Carter Center in collaboration with the broader body of foreign holding actors,
 as above, extending to include all funding associated. To the exact the duplicitous desired outcome,
 access to the locally managed voter registration databases within the United States which were

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 restricted or otherwise inaccessible, the Carter Center and Baker Institute issued a report of the
 collective findings, deceptively presenting the project under the auspices of problem solving specific
 to the “key problem is the lack of voter-registration databases that are interoperable, one with the
 other, between States. Another problem is the lack of an adequate system to insure proper voter
 identification.”

         The poisonous tree – the unlawful Executive Action, deceitfully stole the sovereign voice of
 the People, sacred and unalienable, redirecting it to the States under the 10 th Amendment which today
 under cybersecurity fabrication by the inclusive Defendants, the final thread remaining – the wall of
 separation between unlawfully secured federal imposition on the sovereign Rights of the People, local
 citizen managed elections from end to end, will irrevocably be fully controlled by foreign actors,
 holding allegiance to BCCI. As the foreign interlopers have inculcated themselves into every facet of
 government, the recourse to these actions is constrained, all manner of contortion has been codified
 with legal precedent fortified by 3rd party co-colluders.

         Microsoft formed the footing of the electronic infrastructure of the elections (2004/2005), as
 above. HAVA was enacted by George W. Bush, a BCCI foreign holding subversive, in 2002, New
 Jersey is the only outlier by formal consent agreement. HAVA, Sect. 241 (3), “maintaining secure and
 accurate lists of registered voters (including the establishment of a centralized, interactive, statewide
 voter registration list linked to relevant agencies and all polling sites), and ensuring that registered
 voters appear on the voter registration list at the appropriate polling site. The foregoing attaches back
 to the Voter Registration Act of 1993, correlating back to the Carter Center and BCCI, both foreign
 holding.

        1.      Microsoft, Redmond, WA (PRIMARY) formed the Arizona Foreign affiliate October
                29, 1993. The foreign registration transfer attaches to the Carter model above, through
                affiliates, Arizona Secure, Fair and Safe Elections – Arizona Democracy Resilience
                Network, having hosted foreign parties into local elections and collaborated with the
                Carter Center apart from the People’s consent, orchestrated and fabricated to exact a
                predetermined outcome as stated above.
        2.      Microsoft, Redmond, WA (PRIMARY) formed the Florida Foreign affiliate April 6,
                1995. . The foreign registration transfer attaches to the Carter model above, through
                affiliates, Sunshine 100, having hosted foreign parties into local elections and
                collaborated with the Carter Center apart from the People’s consent, orchestrated and
                fabricated to exact a predetermined outcome, aided and abetted by Jeb Bush, a foreign
                holding party.
        3.      Microsoft (NV, Domestic Corp, formed (07/08/1998), merged July 13, 2011 with
                Microsoft Asia Ltd.) Plaintiff confirms that BCCI investigative record which
                correlates to Indonesia as principal affiliate of BCCI.

        The Plaintiff states, the egregious nature of the duplicitous trickery reaches back into the
 Carter Center, UNITED NATIONS, the inclusive Defendants and key funders; who applied the model
 of democracy under election study in foreign nation-states. These foreign holding subversives
 conducted and facilitated human abuses including human trafficking. The trickery, deceit and fraud is
 two-fold, orating democracy the claims formed within those Rights affirmed by the Constitution, the


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 Bill of Rights and the Declaration of Independence while taking wanton actions towards
 dismemberment of same.

         The foregoing claims are weighted when data and associated dates are cross-pollinated. SEC.
 209. LIMITATION ON RULEMAKING AUTHORITY. The Commission shall not have any
 authority to issue any rule, promulgate any regulation, or take any other action which imposes any
 requirement on any State or unit of local government, except to the extent permitted under section 9(a)
 of the National Voter Registration Act of 1993 (42 U.S.C. 1973gg–7(a)) (source: Congress.gov).
 Without the unlawful actions herein stated, the foreign subversive parties holding allegiances apart
 from the United States, would have been unable to secure their ends of placing these United States in
 the precarious position which it today finds itself. The wanton acts of broad election manipulations
 inclusive of the unlawful trespass, violations of election interference under Title 18 § 245 (1)(A); Title
 18 § 245(a)(1), the inclusive Defendants have by force and threat with willful injury, intimidation and
 interference.

         The inclusive Defendants continue in their gross manifesto with the aid of legal counsel, co-
 colluders of the same subversive character. The foregoing parties have accessed the Judiciary under
 pretense of the public interest which has resulted in precedent fortifying the foregoing actions against
 the American People. Plaintiff restates claim of Civil Rights violations under Article 1, Section 4, cl.
 1 by the inclusive Defendants.

        The assassination attempts made on the Federal candidate, Donald John Trump, Plaintiff
 presents autonomous findings citing the escalating risk of bodily harm presently extending to the
 Trump family. This analysis was completed based on the continuum of dereliction by the FBI and
 DHS inclusive of Defendants, ALEJANDRO MAYORKAS in collaboration with MERRICK
 GARLAND, JOSEPH R. BIDEN and KAMALA HARRIS.

          Plaintiff states that the analysis draws to the perpetrators’ name in direct correlations to the
 Nikola Tesla Intellectual Property, Professor Crookes which mirrors the name of the perpetrator
 having attempted to take the life of Donald John Trump and successfully murdered Corey
 Comparatore, honorably covering his family having served Buffalo Township, Pennsylvania valiantly
 as a firefighter. The date of that tragic event, July 13, 2024, coincides directly with the day that
 MICROSOFT filed for foreign registration as MICROSOFT ASIA LTD. The opaque hands of
 resonant frequency which moved the perpetrator to action holds every knowledge disclosed to the
 Honorable Court by God’s hand through the Plaintiff as to plagiarism of the Nikola Tesla IP records,
 his alternating current work product on display in Buffalo, New York, November 16, 1869.

         Plaintiff restates the insurance policy of the inclusive Defendants with specificity to
 KAMALA HARRIS, her spouses avocational history with DLA Piper, a coalescing interface with
 BCCI affiliates including James Gorman, recently appointed to Disney, former director of the Federal
 Reserve Bank of New York, McKinsey, Morgan Stanley and DLA Piper, as stated above. This cross-
 pollination of forensic data confirms Plaintiff’s previous claims as iterated below.

     The DEMOCRAT NATIONAL COMMITTEE, JOSEPH R. BIDEN, KAMALA HARRIS,
 WARREN BUFFETT, MICROSOFT, BILL GATES collectively colluded with VIVEK
 RAMASWAMY, JD VANCE, USHA VANCE and ELON MUSK, each party shares direct affiliation

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 through Palantir with MICROSOFT including fiscal attachment, investments and private business
 endeavors. MICROSOFT is the only venue who repeatedly accessed the Plaintiff’s computer, in
 many cases with it malfunctioning, documents disappearing and transferring to “C” drive access,
 noting that all Plaintiff records and repository are stored apart from the physical computer. The
 knowledge regarding Crookes and Buffalo discloses that Plaintiff’s claims regarding resonant
 frequency manipulation by MICROSOFT is absolutely true. Further, the unlawful FBI raid on Mar-
 A-Logo had everything to do with the Tesla IP material. Plaintiff notes that her autonomous research
 has disclosed facts exceeding those presented to the Honorable Court, for which MICROSOFT, the
 foreign holding inclusive Defendants in the company of the BCCI foreign nation-states, Iran among
 them, so too hold leverage.

         The foreign actors and affiliates extending to include Bill Gates Sr. under the BCCI structure
 and in the company of the inclusive Defendants with specificity to NANCY PELOSI, had every
 knowledge that Jackie Kennedy Onassis was involved in the assassination of her husband, President
 John F. Kennedy. The Plaintiff believes correlating records may have been sought in the above regard
 by way of the unlawful open-ended search warrant at Mar-A-Lago.

          Two parallel theories result from the inclusive findings, either Melania Trump was involved in
 the assassination attempt or Donald John Trump was stolen from us and an actor is representing his
 persona. To be quite clear, the thought of either of the foregoing statements being true wrenches
 Plaintiff’s heart. Should the foregoing be true and factual, in either case, the Nation and her People
 should mourn the tragedy, a gift of a man who sought nothing but that which was honorable for this
 Country was betrayed for Title that holds little merit by from God who designates it capacity over His
 Dominion of Trust. Walking through the truth, Plaintiff asserts, DONALD JOHN TRUMP honorable
 in all respects, prayer that Plaintiff intuitive analysis is not right in this regard.

          Citing the whole of the inclusive findings, the Federally Protected Election Infrastructure is
 controlled by foreign subversives, their affiliates including MICROSOFT, Dominion,
 HARTIntercivic, ES&S, etc., are party to and investment with the BCCI structure; each putting an
 emphasis on money over humanity. Plaintiff states that, in fact, they have lost both as the wealth
 which they covet owns them and their carnivorous nature draws them farther from God who seeks
 them, despite their actions, His Createds; resolving that final Judgment belongs to Him. However, the
 Plaintiff will seek full numeration of harms, the Trust of the People as determined by a Jury of peers,
 rightly.

       Plaintiff will seek to add Vivek Ramaswamy, JD Vance, Elon Musk and Usha Vance as named
 Defendants, their consent to actions for capacity over humanity, reprehensible.

         BCCI has consumed the lions share of the United States economy, business partners – family
 to those who respect Contract law, real property, etc. Plaintiff will be providing Notice to the New
 York Times tomorrow for those Defendants having subverted service of the Summons/Complaint
 including, JAMES COMEY, SUSAN RICE, RICHARD CHENEY, LIZ CHENEY, BARACK
 HUSSEIN OBAMA, ERIC HOLDER, OCCIDENTAL PETROLEUM AND JAMES BAKER.
 Affidavits completed for all other inclusive Defendants having been served, absent those pending
 consent of the Honorable Court. Plaintiff will seek that the inclusive Defendants be detained apart


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 from personal attacks that Justice be served, less anyone attempt the atrocities taken against
 DONALD JOHN TRUMP – A TRIAL THEY SHALL HAVE FOR THEIR CRIMES.

         The facts irrefutably state that the inclusive Defendants have long planned a rebellious scheme
 of insurrection among foreign subversive actors who have effectuated weaponizing the government of
 the United States against its People, the candidacy and Presidency of Donald John Trump while
 actively participating in murder for hire manifest of resonant frequency, solely controlled by their
 subversive hands and minds. All and inclusive statements, criminal claims of action by the inclusive
 Defendants and harms restated herein, as a sovereign citizen, holding Title by Certificate, born in
 Fulton, New York, Plaintiff Mary Basile Logan, hereby calls on the Honorable Court to appoint her
 guardian of these United States, inclusive of all Trusts so associated. The Plaintiff respectfully
 demands voice before the Honorable Court to stay the forthcoming election of November 5, 2024,
 ensuring that all electronic equipment be eradicated from the People’s sovereign Federally Protected
 Election Infrastructure, that sovereign citizens of these United States only present required Voter ID,
 consenting to their candidate by paper ballot, hand counted.

                                     CERTIFICATION OF SERVICE

         I HEREBY CERTIFY that I filed today, Monday, October 28, 2024, at 9:00 p.m. in accordance
 with Federal Rule of Civil Procedure 11, the foregoing with the Federal Clerk of the Court for the
 United Stated District Court, District of New Jersey, via electronic filing, which will send notification
 of such filing to all parties registered for this case, including the Defendant’s counsel via the electronic
 filing system.

         Plaintiff attests to each claim herein stated and reiterates the inclusive claims, inclusive of
 harms and remedy as set forth in the amended complaint and supplemental submissions with Exhibits
 so accompanying as set forth in ECF Federal Repository in support of the certified statements of harm
 herein and in support of the Injunctive Motion with Permanent Restraining Order.

                                                                Respectfully submitted,

                                                                /s/Mary B. Logan______
                                                                Mary Basile Logan
                                                                Plaintiff (Pro Se)

 cc:    All Counsel of Record (Via ECF)




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